Case 1:17-cv-02003-GBD-SN Document 127-3 Filed 12/20/18 Page 1 of 3




           HAVLISH PLAINTIFFS’ RENEWED MOTION
    FOR AN ORDER CREATING A COMMON BENEFIT FUND AND
     AUTHORIZING CERTAIN DISBURSEMENTS THEREFROM




             EXHIBIT 3
       Case 1:17-cv-02003-GBD-SN Document 127-3 Filed 12/20/18 Page 2 of 3




                                 Original Liability Judgments:

Date            Lead Plaintiff       Case Number                MDL Document

12/22/11         Havlish             03-CV-9848                    2516

08/31/15         Ashton              02-CV-6977                    3021

                 Burlingame          02-CV-7230                   *not found

                 Bauer               02-CV-7236                   *not found

08/31/15        O’Neill              04-CV-1076                    3022

01/31/17        Burnett              15-CV-9903                    3443

        *The subsequent judgments for damages in Burlingame and Bauer reference a default
        judgment against Iran entered on 08/26/15 but there is no such document in the MDL
        docket. This is probably a typo as the subsequent judgments for damages in Ashton also
        reference 08/26/15 when, in fact, the liability default judgment in Ashton was entered on
        08/31/15. The individual dockets for the 02-CV-7230 and 02-CV-7236 do not show the
        entry of a liability default judgment. Regardless, it is apparent that Burlingame and
        Bauer relied upon the Ashton liability default judgment which, in turn, relied upon the
        Havlish judgment.


                              Subsequent Judgments for Damages:

Date:          Relates to:          Decedent claims     Solatium claims        MDL Document


03/08/16 Ashton 02-CV-6977                 851                                 3226

06/16/16 Ashton 02-CV-6977                 4                19                 3300

09/12/16 Bauer 02-CV-7236                  4                24                 3341

11/29/16 Bauer 02-CV-7236                  1                1                  3399

12/01/16 Bauer 02-CV-7236                                   1                  3403

08/17/17 Ashton 02-CV-7236                                  360                3706

04/25/18 Ashton 02-CV-7236                                  415             3979
     Case 1:17-cv-02003-GBD-SN Document 127-3 Filed 12/20/18 Page 3 of 3




Date:        Relates to:         Decedent claims   Solatium claims    MDL Document


04/30/18 Ashton 02-Cv-7236                            164            3987
         Burlingame 02-CV-7230

05/29/18 Ashton 02-Cv-7236                1           2              4011
         Burlingame 02-CV-7230

06/08/18 Burnett 15-CV-9903                           1007           3986

08/07/18 Ashton 02-Cv-7236                            37             4087
         Burlingame 02-CV-7230

08/16/18 Ashton 02-CV-7236                            127            4106

08/28/18 Burnett 15-CV-9903                           233            4126

08/28/18 Ashton 02-CV-7236                            8              4127

09/04/18 Burnett 15-CV-9903                           7              4146

09/07/18 Ashton 02-CV-7236                            2              4152

09/12/18 Ashton 02-Cv-7236                            2              4156
         Burlingame 02-CV-7230

09/13/18 Ashton 02-CV-7236                            19             4170
         Betru 18-CV-8297

09/13/18 Burnett 15-CV-9903                           1              4171


09/12/18 Ashton 02-Cv-7236                            6              4175
         Burlingame 02-CV-7230
         Burnett 15-CV-9903

09/17/18 Ashton 02-CV-7236                            22             4173


Total Decedent Claims: 861
Total Solatium Claims: 2,457
Total All Claims:      3,339
